Oe ul: ST Re iis Esh cl Lik AGU Sect] Ramee a aa
/ so, do they use something that harms something other than mosquitoes?
is that why they are banned?

ore a 4 wy
bees Batre g ie Oa)
@colinpurringsan
Sar Pab AO MAUR Ge ies Gu Reena
_ Spartan Mosquito Eradicator operates in a regulatory
loophole, though, because it *doesn't* contain a
regulated pesticide. if it hacl actual insecticide it would

absolutely need to convince regulators that the device
killed mosquitoes. It's a successful scheme.

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sae

oan Mm © er

Mee on Ee eae Seem rar aa

/ Renlying to @colinperriigton
80 it. doesn't even kill mosquitoes? 1 mean, i'd never heard of them, Sd
PRE ia meth eels) ie

oe a conn nr

Colin Purrington @colinpucringien + Get 1

ACES aes i kettle rem ce wa Aa elt LG me a eld
cee aus oes cm Bia Se vrlaaiaaio ta a Pie ela)
alae to belleve the name is truthful. ;

an een ae (review) » Colin Purrington
Se ee ecetiensr lene etc isan | cai lcerccmes rel tem
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Se CU: Pare Solones Skeptic G9 @MilaryRogary < Oct 11
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